                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL NO. 19-233

VERSUS                                                  SECTION "T" (1)

WESLEY TYRON BISHOP                                     VIOLATIONS:
                                                        18 USC § 1001(a)(3)



                                  RE-NOTICE OF SENTENCING

Take Notice that this criminal case has been reset for virtual SENTENCING on JULY 14, 2020 at

10:45 A.M., before U.S. District Judge Greg Gerard Guidry, 500 Poydras Street, Courtroom C552, New

Orleans, LA 70130.


  **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE
AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


                                                    CAROL L. MICHEL, CLERK
  DATE: June 30, 2020
                                                    by: Dedra D. Pongracz, Deputy Clerk
  TO: WESLEY TYRON BISHOP (BOND)

                                                    AUSA Andre Jude Lagarde
  COUNSEL FOR WESLEY TYRON
  BISHOP
  Harry Rosenberg
                                                    U.S. Marshal

                                                    U.S. Probation/Pretrial Services Unit



                                                    COURT REPORTER COORDINATOR:
  If you change address, notify                     INTERPRETER -NONE
  Clerk of Court by phone,
  (504) 589-7747
